         Case 2:24-cr-00091-ODW           Document 155 Filed 11/01/24         Page 1 of 3 Page ID
                                                  #:1895




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 9

10                             UNITED STATES DISTRICT COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
                                         ******
12

1311 UNITED STATES OF A11ERICA,                    )       CASE NO. 2:24-CR-00091-ODW
14                                                 )
                             Plaintiff,            )       DECLARATION OF RICHARD A.
15
                                                   )       SCHONFELD IN SUPPORT OF
16                                                 )       DEFENDANT'S NOTICE OF
17                                                 )       MOTION AND MOTION IN
18 11 V.                                           )       LIM/NETO PRECLUDE ANY
                                                   )       REFERENECESTO
19
                                                   )       DEFENDANT'S
20      ALEXANDER SMIRNOV,                         )       LAWFULLY OWNED
21                                                 )       FIREARMS[ECF146FfilST
                                                   )       MOTION IN LIMINE FILED BY
22
                             Defendant,            )       DEFENDANT] 1
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27 11   1 A Declaration was not submitted with the Motion; however, the deadline for Motions in Limine

28 II is November 1, 2024, and therefore this Declaration is timely filed.
                                                       1
      Case 2:24-cr-00091-ODW        Document 155 Filed 11/01/24        Page 2 of 3 Page ID
                                            #:1896



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                    DECLARATION OF RICHARD A SCHONFELD
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4       I, Richard A Schonfeld, declare as follows:

5       1. I am an attorney of record for Defendant Alexander Smirnov in the above-
6
     captioned case. I have personal knowledge of the matters contained in this
7
 8 I declaration, and, if called as a witness to testify, I would competently testify to

 9 11 them. This declaration is offered in support of the Defendant's first filed Motion in
10
     Li.mine to Preclude Any References to Defendant's Lawfully Owned Firearms
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12   (DKT 146).
13      2. On October 22, 2024, counsel for Mr. Smimov sent counsel for the
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     government an email seeking the government's position on this motion. The
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16   government opposes the motion, stating "While we do not intend to introduce the
17   seizure of the guns in our case in chief at this time, we reserve the right to do so to
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     establish, among other things, that items seized from the defendant's residence
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20   belong to him. If you do not intend to challenge whether evidence seized from the
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     defendant's residence belongs to him, we believe we can reach a stipulation that we
22
     will not introduce the firearms at trial."
23

24      This response, would necessitate the Defendant stipulating to unidentified
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     evidence that the Government suggests it will attempt to introduce at trial, in order
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     for the government to agree not to present irrelevant and highly prejudicial
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         Case 2:24-cr-00091-ODW      Document 155 Filed 11/01/24     Page 3 of 3 Page ID
                                             #:1897




 1 11 evidence of lawfully possessed firearms. There should be no condition on the
 2
        exclusion of the evidence at issue.
 3

 4         3. The Defendant will suffer prejudice if this Motion in Limine is denied, and

 5 II the government is permitted to introduce evidence of the Defendant lawfully

 6
        possessing firearms, as such evidence is irrelevant under Federal Rule of Evidence
 7
 8 II 401 , inadmissible under Federal Rule of Evidence 402, and would cause unfair

 9 11   prejudice under Federal Rule of Evidence 403 .
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           Executed this 1st day of November, 2024, in Las Vegas, Nevada.
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12                                             Respectfully Submitted:
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                                               CHESNOFF & SCHONFELD
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15                                            ~- - -~-..-.__s       =>
16                                              RICHARD A. SCHONFELD

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